Case 5:18-cv-00285-JSM-PRL Document1 Filed 06/07/18 Page 1 of 13 PagelD 1

FILED

UNITED STATES DISTRICT COURT ;
MIDDLE DISTRICT OF FLORIDA 2018 JUN -7 PH 2:07

 

OCALA DIVISION CLERK, US DISTRICT COURT
MICOLE DISTRICT OF FL
SANDRA LAURENTANO, CCALA FLORIDA
Plaintiff,
Vv.
CASE NO.: \
STERLING JEWELERS, INC., D/B/A S113 “CV-29S_ Oc. Sop
JB ROBINSON JEWELERS, AL
Defendant.
/
COMPLAINT
1. Unwanted “Robocalls” are the #1 consumer complaint in America today.
2. The people complaining about harassing robocalls is increasing at an alarming rate.

In 2015, 2,125,968 complained to the Federal Trade Commission (FTC) and Federal
Communications Commission (FCC), in 2016 this number was 3,401,614 2016 and in 2017 it was
4,501,967.'

3. Sterling Jewelers, Inc. d/b/a J B Robinson Jewelers, robocalled the Plaintiff a
mindboggling 1000 times.

4. Sterling Jewelers, Inc. d/b/a J B Robinson Jewelers, has a corporate policy to
robocall people thousands of times.

5. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force
the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’

137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

 

1 It is important to recognize these merely reflect the number of individuals that complained to these agencies; the
number of people that have been victimized by illegal robocalling abuse could be close to 100,000,000 in the last 3
years
Case 5:18-cv-00285-JSM-PRL Document1 Filed 06/07/18 Page 2 of 13 PagelD 2

subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm
Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014). Despite the penalties put in place over 26
years ago, robocall abuse continues to skyrocket.

6. Plaintiff, Sandra Laurentano, alleges Defendant, Sterling Jewelers, Inc. d/b/a J B
Robinson Jewelers, robocalled her more than 1000 times in stark violation of the Telephone
Consumer Protection Act, 47 U.S.C. § 227 ef seg. (“TCPA”), the Fair Debt Collection Practices
Act, 15 U.S.C. § 1692 et. seg. (“FDCPA”), the Florida Consumer Collection Practices Act, Fla.
Stat. § 559.55 et seg. (‘“FCCPA”), Invasion of Privacy (“IOP”), and Intentional Infliction of
Emotional Distress (“IIED”).

7. Robocalls are very inexpensive to make. As was noted in a Senate hearing on the
subject: “With such a cheap and scalable business model, bad actors can blast literally tens of
millions of illegal robocalls over the course of a single day at less than | cent per minute.” Stopping
Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on Consumer
Prot., Prod. Safety, and Ins. of the S. Comm. on Commerce, Sci., and Transp., 113 Cong. 113-117
(2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing Practices, Bureau of
Consumer Protection, Federal Trade Commission).

8. The TCPA was enacted to prevent companies like Sterling Jewelers, Inc. d/b/a J B
Robinson Jewelers from invading American citizens’ privacy and prevent illegal robocalls.

9. Congress enacted the TCPA to prevent real harm. Congress found that "automated
or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and
decided that "banning" such calls made without consent was "the only effective means of

protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,
Case 5:18-cv-00285-JSM-PRL Document1 Filed 06/07/18 Page 3 of 13 PagelD 3

§§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,
132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).

10. According to findings by the FCC—the agency Congress vested with authority to
issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,
automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live
solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that
wireless customers are charged for incoming calls whether they pay in advance or after the minutes
are used.

JURISDICTION AND VENUE

11. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. §1331.

12. Violations described in the Complaint occurred while Plaintiff was in Homosassa,
Florida.

FACTUAL ALLEGATIONS

13. Plaintiff is a natural person and citizen of the State of Florida, residing in
Homosassa, Florida.

14. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8) 15 U.S.C. §
1692(a)(3).

15. Plaintiff is an “alleged debtor.”

16. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (1 Ith Cir. 2014); Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

17. Defendant is a Foreign Progit Corporation with its principal place of business in

Akron, Ohio, and conducts business in the State of Florida.
3
Case 5:18-cv-00285-JSM-PRL Document1 Filed 06/07/18 Page 4 of 13 PagelD 4

18. Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15
U.S.C. § 1692(a)(6).

19. The debt that is the subject matter of this complaint is a “consumer debt” as defined
by Florida Statute § 559.55(6) and 15 U.S.C. § 1692(a)(5).

20. Plaintiff is the regular user and carrier of the cellular telephone number at issue,
(352) 270-1803.

21. Plaintiff was the “called party” during each phone call subject to this lawsuit.

22. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day, and on back to back days, with such frequency as can
reasonably be expected to harass.

23. Defendant did not have the “express consent” of the Defendant to call her cell
phone.

24. “Express consent” is narrowly construed by the Courts.

25. — It is the Defendant’s burden to prove they had “express consent” per the TCPA to
call the Plaintiff on her cell phone using an “automatic telephone dialing system” (ATDS).

26. It is the Defendant’s burden to prove they had “express consent” per the TCPA to
call the Plaintiff on her cell phone using an ATDS for each account they were calling on.

27. Defendant was put on notice Plaintiff did not want the Defendant contacting her.

28. Defendant was told repeatedly to stop calling.”

Defendant did not have the express consent of the Plaintiff to call her on the accounts they

called her on.

 

? Defendant should have the call logs showing the exact number of calls and the recordings which should illustrate
exactly what was said to the Defendant.

4
Case 5:18-cv-00285-JSM-PRL Document1 Filed 06/07/18 Page 5 of 13 PagelD 5

29.

Plaintiff expressly revoked any express consent Defendant may have mistakenly

believed it had for placement of telephone calls to Plaintiff's aforementioned cellular telephone

number by the use of an ATDS or a pre-recorded or artificial voice.

30.

Defendant attempted to collect a debt from the Plaintiff by this campaign of

telephone calls.

31. Defendant made at least one call to (352) 270-1803.

32. Defendant made at least one call to (352) 270-1803 using an ATDS.

33. Defendant made at least ten (10) calls to (352) 270-1803.

34. Defendant made at least ten (10) calls to (352) 270-1803 using an ATDS.

35. | Defendant made at least one hundred (100) calls to (352) 270-1803.

36. Defendant made at least one hundred (100) calls to (352) 270-1803 using an ATDS.

37. Defendant made at least three hundred (300) calls to (352) 270-1803.

38. | Defendant made at least three hundred (300) calls to (352) 270-1803 using an
ATDS.

39. Defendant made at least five hundred (500) calls to (352) 270-1803.

40. Defendant made at least five hundred (500) calls to (352) 270-1803 using an ATDS.

41. Defendant made at least one thousand (1,000) calls to (352) 270-1803.

42. Defendant made at least one thousand (1,000) calls to (352) 270-1803 using an
ATDS.

43. Each call the Defendant made to (352) 270-1803 in the last four years was made
using an ATDS.

44. _ Each call the Defendant made to the Plaintiffs cell phone was done so without the

“express permission” of the Plaintiff.
Case 5:18-cv-00285-JSM-PRL Document1 Filed 06/07/18 Page 6 of 13 PagelD 6

45. Defendant has called other people’s cell phones without their express consent.

46. Each call the Defendant made to the Plaintiff was made using an ATDS, which has
the capacity to store or produce telephone numbers to be called, without human intervention, using
a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §
227(a)(1).

47. The calls at issue were placed by the Defendant using a “prerecorded voice,” as
specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

48. Plaintiff repeatedly requested the Defendant to stop calling her cell phone,
however, the Defendant continued to make calls.

49. Defendant has admitted to calling cell phones using an ATDS after that person
asked for the calls to stop.

50. _‘ Plaintiff's conversations with the Defendant putting them on notice that they did
not want more phone calls were ignored.

51. Defendant has recorded at least one conversation with the Plaintiff.

52. | Defendant has recorded numerous conversations with the Plaintiff.

53. | Defendant has made approximately one thousand (1000) calls to Plaintiff's
aforementioned cellular telephone number since in or about November 2015 which will be
established exactly once Defendant turns over their dialer records.

54. Despite actual knowledge of their wrongdoing, the Defendant continued the
campaign of abusive robocalls.

55. Defendant has been sued in federal court where the allegations include: calling an

individual using an ATDS after the individual asked for the calls to stop.
Case 5:18-cv-00285-JSM-PRL Document1 Filed 06/07/18 Page 7 of 13 PagelD 7

56. By effectuating these unlawful phone calls, Defendants have caused Plaintiff the
very harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy.”

57. Defendant’s aggravating and annoying phone calls trespassed upon and interfered
with Plaintiff's rights and interests in her cellular telephone and cellular telephone line, by
intruding upon Plaintiff's seclusion.

58. Defendant’s phone calls harmed Plaintiff by wasting her time.

59, Moreover, "wireless customers [like Plaintiff] are charged for incoming calls
whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA
of 1991, 23 FCC Red 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the
battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular
telephone service provider.

60.  Defendant’s corporate policy and procedures are structured as to continue to call
individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may
have mistakenly believed it had.

61. | Defendant’s corporate policy and procedures provided no means for the Plaintiff to
have her aforementioned cellular number removed from the call list.

62. Defendant has a corporate policy of using an ATDS or a prerecorded or artificial
voice message to collect debts from individuals such as Plaintiff for its financial benefit.

63. | Defendant has numerous other federal lawsuits pending against them alleging
similar violations as stated in this complaint.

64. Plaintiff expressly revoked any consent Defendant may have mistakenly believed
it had for placement of telephone calls to Plaintiff's aforementioned cellular telephone by the use

of an ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement of the

7
Case 5:18-cv-00285-JSM-PRL Document1 Filed 06/07/18 Page 8 of 13 PagelD 8

calls. Making money while breaking the law is considered an incentive to continue violating the
TCPA and other state and federal statutes.

65. Defendant never had the Plaintiff's expressed consent for placement of telephone
calls to her aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial
voice.

66. None of Defendant’s telephone calls placed to Plaintiff were for “emergency
purposes” as specified in 47 U.S.C. §227(b)(1)(A).

67. Defendant violated the TCPA, FDCPA and FCCPA with respect to the Plaintiff.

68. Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

COUNTI
(Violation of the TCPA)

69. _ Plaintiff incorporates Paragraphs one (1) through sixty-eight (68).

70. Defendant willfully violated the TCPA with respect to the Plaintiff each time they
called the Plaintiff after she revoked her consent to be called by them using an ATDS or pre-
recorded voice.

71. Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for
each of the auto-dialed calls made to Plaintiff's cellular telephone after Plaintiff revoked her
consent to be called by them using an ATDS or pre-recorded voice.

72. Defendant, Sterling Jewelers, Inc. d/b/a J B Robinson Jewelers, repeatedly placed
non-emergency telephone calls to the wireless telephone number of Plaintiff using an automatic
telephone dialing system or prerecorded or artificial voice without Plaintiff's prior express consent

in violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).
Case 5:18-cv-00285-JSM-PRL Document1 Filed 06/07/18 Page 9 of 13 PagelD 9

73. Asa result of Defendant’s illegal conduct, Plaintiff suffered actual damages and,
under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such
violation of the TCPA.

74. Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,
Sterling Jewelers, Inc. d/b/a J B Robinson Jewelers, from violating the TCPA in the future.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages and any
other such relief the court may deem just and proper.

COUNT IT
(Violation of the FDCPA)

75. Plaintiff incorporates Paragraphs one (1) through sixty-eight (68).

76. At all times relevant to this action, Defendant is subject to and must abide by 15
U.S.C. § 1692 ef seq.

77. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d) by
willfully engaging in conduct the natural consequence of which is to harass, oppress, or abuse any
person in connection with the collection of a debt.

78. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d)(5)
by causing a telephone to ring or engaging any person in telephone conversation repeatedly or
continuously with intent to annoy, abuse, or harass any person at the called number.

79. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(f) by
using unfair and unconscionable means to collect or attempt to collect any debt.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against for statutory damages, punitive damages, actual damages, costs, interest, attorney

fees and any other such relief the court may deem just and proper.
9
Case 5:18-cv-00285-JSM-PRL Document1 Filed 06/07/18 Page 10 of 13 PagelD 10

COUNT III
(Violation of the FCCPA)

80. _ Plaintiff incorporates Paragraphs one (1) through sixty-eight (68).

81. At all times relevant to this action Defendant is subject to and must abide by the
law of Florida, including Florida Statute § 559.72.

82. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of her family with such frequency as can reasonably be expected
to harass the debtor or her family.

83. Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of her
family.

84. Defendant has violated Florida Statute § 559.72(9) by attempting to enforce a debt
when Defendant knows that the debt is not legitimate or assert the existence of some legal right
when Defendant knows that right does not exist.

85.  Defendant’s actions have directly and proximately resulted in Plaintiff's prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, costs,
interest, attorney fees, enjoinder of future illegal conduct, and any other such relief the court may

deem just and proper.

10
Case 5:18-cv-00285-JSM-PRL Document1 Filed 06/07/18 Page 11 of 13 PagelD 11

COUNT IV
(Invasion of Privacy — Intrusion Upon Seclusion)

86. Plaintiff incorporates Paragraphs one (1) through sixty-eight (68).

87. Defendant through its collection conduct, has repeatedly and intentionally invaded
Plaintiff's privacy.

88. All of the calls made to Plaintiff's cell phone by Defendant and its agents using an
automatic telephone dialing system were made in violation of the TCPA, and were unreasonable
and highly offensive invasions of Plaintiffs right to privacy.

89.  Defendant’s persistent autodialed calls to her cellular phone eliminated Plaintiff's
right to be left alone.

90.  Defendant’s autodialed collection calls disrupted Plaintiff's privacy, disrupted
Plaintiff's sleep, disrupted Plaintiff during mealtimes, disrupted Plaintiff during her work, and
continually frustrated and annoyed Plaintiff.

91. | These persistent autodialed collection calls eliminated the peace and solitude that
the Plaintiff would have otherwise had in Plaintiff's home and anywhere else Plaintiff went with
her cellular phone.

92. By calling cellular phone, Plaintiff had no escape from these collection calls either
in her home or when she left the home.

93. By persistently autodialing Plaintiff's cellular phone without prior express consent,
Defendant invaded Plaintiff's right to privacy, as legally protected by the TCPA, and caused
Plaintiff to suffer concrete and particularized harm.

94. Defendant’s harassing collection conduct and tactic of repeatedly auto dialing
Plaintiff to her cellular telephone after requests to stop is highly offensive to a reasonable person.

95. Defendant intentionally intruded upon Plaintiff's solitude and seclusion.
11
Case 5:18-cv-00285-JSM-PRL Document1 Filed 06/07/18 Page 12 of 13 PagelD 12

96. Asaresult of Defendant’s action or inaction, Plaintiff has been damaged.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages and any
other such relief the court may deem just and proper.

COUNT V
(Intentional Infliction of Emotional Distress)

97. _ Plaintiff incorporates Paragraph one (1) through sixty-eight (68).

98. The harassing and abusive conduct, including the repetitive robocalls to Plaintiff,
have caused severe emotional harm and distress, embarrassment, aggravation, and other losses.

99. It is beyond the pale of decency to robocall anybody 1000 times.

100. The damage to the Plaintiff was and is immense. The Plaintiff had a stunned sense
of helplessness because she could not stop the calls despite explaining over and over that she
wanted the harassing robocalls to end.

101. To call somebody this amount of time is inhumane.

102. It is utterly uncivilized to robocall someone 1000 times.

103. Ifa person called another person 1000 times, the caller would most likely be in
prison for criminal harassment.

104. This is especially true if the caller continued to make the calls after being told to
stop and never had permission to call in the first place.

105. The calls to Plaintiff by Defendant are harassing, aggravating and highly intrusive.

12
Case 5:18-cv-00285-JSM-PRL Document1 Filed 06/07/18 Page 13 of 13 PagelD 13

WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant for punitive damages and such other and further relief as the Court shall deem just and

proper.

Respectfully submitted,

!s/Heather H. Jones, Esq.

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13
